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UN|TED STATES BANKRUPTCY COURT
SOUTHERN DlSTR|CT OF TEXAS
HOUSTON DlVlSlON

|N RE: Larry Scott Rogers CASE NO

CHAPTER T

VERlF|CAT|ON OF CRED|TOR NIATRIX

The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge

v /i / /¢ F§_\/J
Date " Signature .

Larry Scott Rogers

Date Signature

 

 

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1&1 Internet, Inc.
701 Lee Road, Suite 300
Chesterbrook, PA 19087

A&S Eatate
2115 Glenn Lakea Lane
Missouri City, TX 77459

American Express
P.O. Box 297879
Ft. Lauderdale, FL 33329-7879

Bethel Enterpriaea
3005 Pasadena Freeway
Pasadena, Texas 77503

Brian P- Kopp

Betra$, KOpp & Harshman, LLC
4820 W. Kennedy Blvd., Suite 450
Tampa, FL 33609

Cabbage Ink

Chalea Marie Rogers
4400 Colleqe Park Drivei No. 727
The Woodlands, Texas 77384

Chalea Marie Rogers
4400 Colleqe Park, #718
The Woodlands, Texas 77384

Citi Wide Merchant Advances
188 Park Ave, Suite B
Amityville, NY 11701-2755

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Consolidated Communicatione
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VanCampen Law Office, LLC
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Morqan, UT 84050

DHL
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Chicaqo, IL 60693

DSRM National Bank
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First Savinga Credit Card
PO BOX 2509
Omaha NE 68103-2509

Hashmukhlal D. and Tinaben H. Patel
102 Meadow Run Drive
Ccnroe, TX 77384

Hashmukhlal D. and Tinaben H. Patel

Honda Financial Servicea
Lockbox #7829

2080 Cabot Blvd., West
Langhorne, PA 1904?

Idea Innovators, LLC

3713 Howard Hughes Parkway
South Tower Suite 500

LaS Veqas, NV 89169-6014

 

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Internal Revenue Service
Department fo Treasury
Memphis, TN 38101-0069

IOU Central
600 Town Park Lane, Suite 100
Kennesaw, GA 30144

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2451 S. 600 W #500
South Salt Lake, UT 84115

Larry A. Rogers
114 North Country Gate Circle
Conroe, TX 77384

Lynn E. Esposito
26000 Budde Road
The Woodlands, TX 77380

Meritcard Solutions
311 S. Cesar Chavez Blvd
Dallas, TX 75201

Midland Credit Management, INC.
2365 Northside Drive, Suite 300
San Diego, CA 92108

One Main Financial

1302 Davis

Town Center North, Suite E
Conroe, TX 17305

Orion Payment Systems
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Auatin, TX 78?11-2887

SST

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PO BOX 3999

St. JOSeph, MO 64503-0999

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Stripe.com

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